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                    United States Court of Appeals
                                     For the First Circuit
      No. 09-1664
        PEDRO LOPEZ, Individually and on behalf of a class of individuals similarly situated; ABEL
               CANO, Individually and on behalf of a class of individuals similarly situated; KEVIN
          SLEDGE, Individually and on behalf of a class of individuals similarly situated; CHARLES
         DEJESUS, Individually and on behalf of a class of individuals similarly situated; RICHARD
                BROOKS, Individually and on behalf of a class of individuals simlarly situated; THE
         MASSACHUSETTS HISPANIC LAW ENFORCEMENT ASSOCIATION, Individually and
       on behalf of a class of individuals similarly situated; ROBERT ALVAREZ, Individually and on
           behalf of a class of individuals similarly situated; SPENCER TATUM, Individually and on
         behalf of a class of individuals similarly situated; SHUMEAND BENFOLD, Individually and
           on behalf of a class of individuals similarly situated; ANGELA WILLIAMS-MITCHELL,
      Individually and on behalf of a class of individuals similarly situated; GWENDOLYN BROWN,
        Individually and on behalf of a class of individuals similarly situated; LYNETTE PRAILEAU,
             Individually and on behalf of a class of individuals similarly situated; TYRONE SMITH,
            Individually and on behalf of a class of individuals similarly situated; EDDY CHRISPIN,
          Individually and on behalf of a class of individuals similarly situated; DAVID E. MELVIN,
          Individually and on behalf of a class of individuals similarly situated; STEVEN MORGAN,
        Individually and on behalf of a class of individuals similarly situated; WILLIAM E. IRAOLO,
              Individually and on behalf of a class of individuals similarly situated; JOSE LOZANO,
               Individually and on behalf of a class of individuals similarly situated; COURTNEY A.
          POWELL, Individually and on behalf of a class of individuals similarly situated; JAMES L.
           BROWN, Individually and on behalf of a class of individuals similarly situated; GEORGE
          CARDOZA, Individually and on behalf of a class of individuals similarly situated; LARRY
             ELLISON Individually and on behalf of a class of individuals similarly situated; DAVID
               SINGLETARY, Individually and on behalf of a class of individuals similarly situated;
       CHARISSE BRITTLE POWELL, Individually and on behalf of a class of individuals similarly
             situated; CATHENIA D. COOPER-PATERSON, Individually and on behalf of a class of
            individuals similarly situated; MOLWYN SHAW, Individually and on behalf of a class of
       individuals similarly situated; LAMONT ANDERSON, Individually and on behalf of a class of
          individuals similarly situated; GLORIA KINKEAD, Individually and on behalf of a class of
          individuals similarly situated; KENNETH GAINES, Individually and on behalf of a class of
        individuals similarly situated; MURPHY GREGORY, Individually and on behalf of a class of
            individuals similarly situated; JULIAN TURNER, Individually and on behalf of a class of
                individuals similarly situated; NEVA GRICE, Individually and on behalf of a class of
         individuals similarly situated; DELORES E. FACEY, Individually and on behalf of a class of
                individuals similarly situated; LISA VENUS, Individually and on behalf of a class of
           individuals similarly situated; RODNEY O. BEST, Individually and on behalf of a class of
          individuals similarly situated; KAREN VANDYKE, Individually and on behalf of a class of
         individuals similarly situated; ROBERT C. YOUNG, Individually and on behalf of a class of
           individuals similarly situated; ROYLILNE LAMB, Individually and on behalf of a class of
               individuals similarly situated; LYNN DAVIS, Individually and on behalf of a class of
         individuals similarly situated; JAMES A. JACKSON, Individually and on behalf of a class of
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          individuals similarly situated; JUAN ROSARIO, Individually and on behalf of a class of
       individuals similarly situated; LOUIS ROSARIO, JR., Individually and on behalf of a class of
         individuals similarly situated; OBED ALMEYDA, Individually and on behalf of a class of
        individuals similarly situated; DEVON WILLIAMS, Individually and on behalf of a class of
          individuals similarly situated; JULIO TOLEDO, Individually and on behalf of a class of
                                         individuals similarly situated

                                          Plaintiffs - Appellees

                                                  ------

       MARISOL NOBREGA, Individually and on behalf of a class of individuals similarly situated

                                                 Plaintiff

                                                    v.

        COMMONWEALTH OF MASSACHUSETTS; PAUL DIETL, In his capacity as Personnel
                  Administrator for the Commonwealth of Massachusetts

                                         Defendants - Appellants

                                                  ------

       CITY OF LAWRENCE, MASSACHUSETTS; CITY OF METHUEN, MASSACHUSETTS;
            JOHN MICHAEL SULLIVAN, In his capacity as Mayor of the City of Lawrence,
       Massachusetts; WILLIAM MANZI, III, In his capacity as Mayor of Metheun, Massachusetts;
       CITY OF LOWELL; WILLIAM F. MARTIN, In his capacity as Mayor of the City of Lowell,
       Massachusetts; CITY OF WORCESTER, MASSACHUSETTS; KONSTANTINA B. LUKES,
            In her capacity as Mayor of the City of Worcester, Massachusetts; APPOINTING
       AUTHORITY FOR THE CITY OF LOWELL; MICHAEL O'BRIEN, In his capacity as City
             Manager of the City of Worcester Massachusetts; CITY OF BOSTON; CITY OF
       SPRINGFIELD; MAYOR DOMENIC SARNO, JR., In his capacity as Mayor for the City of
         Springfield; MASSACHUSETTS BAY TRANSPORTATION AUTHORITY; DANIEL
         GRABAUSKAS, In his capacity as General Manager; BOARD OF TRUSTEES OF THE
                     MASSACHUSETTS BAY TRANSPORTATION AUTHORITY

                                               Defendants


                                      CALENDARING NOTICE

                                         Issued: August 26, 2009


             This case is presently scheduled to be called for oral argument on October 08, 2009 at
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      9:30 a.m. in Boston, MA.

              Within two weeks of the date of this notice, counsel for each party should advise this
      office, by completing and returning the enclosed designation form, of the name of the person
      who will be presenting oral argument. If counsel presenting oral argument has not yet entered an
      appearance, counsel must file an appearance and motion in accordance with 1st Cir. R. 12.0(a)
      with the designation form.

             There will be no continuance except for grave cause.

             Recordings of all proceedings in cases by parties before the court will be made available
      online unless the court orders otherwise or the court closes the proceedings to the public.
      Counsel therefore should consider the privacy implications of this before argument.

             All counsel presenting oral argument must arrive at least 15 minutes before court
      convenes. Arguing counsel should proceed directly to the courtroom and check-in with the
      courtroom deputy.

              On occasion, cases scheduled for oral argument are removed from the calendar before
      the scheduled date. The oral argument calendar is frequently prepared before the judges have
      completed their review of the briefs. Therefore, if the panel ultimately concludes that argument
      is not warranted in a particular case, that case will be removed from the argument calendar. In
      such circumstances, the clerk’s office will endeavor to notify counsel as promptly as possible.

                                                      Richard Cushing Donovan, Clerk


      UNITED STATES COURT OF APPEALS
      FOR THE FIRST CIRCUIT
      John Joseph Moakley
      United States Courthouse
      1 Courthouse Way, Suite 2500
      Boston, MA 02210
      Laura Michalski, Calendar Clerk (617)748-9069


      cc:
      Iraida J. Alvarez
      Leah M. Barrault
      James M. Bowers
      Daniel C. Brown
      Maurice M. Cahillane
      William G. Cullinan
      Laurie W. Engdahl
      Vinita Ferrera
      Jeffrey S. Gleason
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      Rahsaan D. Hall
      Mary Jo Harris
      Brian W. Leahey
      Harold L. Lichten
      John T. Liebel
      Shannon Liss-Riordan
      Kevin S. McDermott
      Peter J. McQuillan
      Robert P. Morris
      Edward M. Pikula
      Robert L. Quinan Jr.
      Mark Daniel Selwyn
      Sookyoung Shin
      R. Eric Slagle
